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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MINNESOTA


RODERICK ARNOLD, et al., on behalf of
themselves and all others similarly situated,

               Plaintiffs,
                                                    CERTIFICATE OF SERVICE
       v.
                                                     Case No.: 01-2086 DWF/AJB
CARGILL, INCORPORATED,

               Defendant.


I hereby certify that on February 17, 2005, I caused the following documents:

       Cargill’s Memorandum Regarding the Effect of Jones v. R.R. Donnelley on Plaintiffs’
       Promotion and Compensation Claims

to be filed electronically with the Clerk of Court through ECF, and that ECF will send an e-
notice of the electronic filing to the following:

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I further certify that I caused a copy of the foregoing documents and the notice of electronic
filing to be mailed by first class mail, postage paid, to the following non-ECF participants:

       None




Dated: February 17, 2005                     _s/Shari L. Jerde____________________
                                                    Shari L. Jerde
